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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION OF JASON
 LEOPOLD TO UNSEAL CERTAIN                          Misc. Action No. 13-mc-00712 (BAH)
 ELECTRONIC SURVEILLANCE
 APPLICATIONS AND ORDERS




PETITIONERS’ UNOPPOSED MOTION FOR ENLARGEMENT OF TIME IN WHICH
  TO FILE ITS REPLY TO THE UNITED STATES’ REPONSE TO PETITIONERS’
                    MOTION FOR RECONSIDERATION

       Petitioners Jason Leopold and the Reporters Committee for Freedom of the Press

(collectively, “Petitioners”), through their undersigned counsel, hereby move this Honorable

Court for an enlargement of time of seven days until June 1, 2018, in which to file the reply to

the United States’ response to Petitioners’ motion for reconsideration. Petitioners’ reply is

currently due to the Court on May 25, 2018. In support of the motion, Petitioners aver:

       1.      By the above-named action, Petitioners filed petitions to unseal certain electronic

surveillance applications, orders, and related court documents filed in this District. See Pet.

Unseal Records, ECF No. 1; Appl. to Unseal and for Other Appropriate Relief, ECF No. 18.

Specifically, Petitioners sought certain relief as to three general categories of judicial records that

are routinely filed and maintained under seal indefinitely in this District: (1) records related to

search warrants issued pursuant to the Stored Communications Act (“SCA”), 18 U.S.C. §§ 2701-

12 (“SCA Search Warrant materials”); (2) records related to court orders issued pursuant to 18

U.S.C. § 2703(d) of the SCA (“Section 2703(d) materials”); and (3) records related to judicial

authorization to use pen register and/or trap and trace (“PR/TT”) devices pursuant to the Pen
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Register Act (“PRA”), 18 U.S.C. §§ 3121-3127 (“PR/TT materials”). See Pet’rs’ Suppl. Mem.

Supp. Pet., ECF No. 47; Proposed Order, ECF No. 47-8.

       2.      On February 26, 2018, the Court issued an Opinion and Order granting in part and

denying in part the petitions. See Opinion and Order, ECF No. 54.

       3.      On March 23, 2018, Petitioners filed a timely motion for reconsideration pursuant

to Federal Rule of Civil Procedure 59(e), which requires that a motion to alter or amend the

judgment be filed within 28 days of the Court’s decision. See Petitioners’ Motion for

Reconsideration, ECF No. 55.

       4.      Local Rule of Civil Procedure 7(b) requires an opposing party to file a

memorandum of points and authorities in opposition to the motion within 14 days of service, or

such other time as the Court may direct. Accordingly, the United States’ response was due by

April 6, 2018. On March 30, 2018, the United States filed a motion for enlargement of time in

which to file its response to Petitioners’ motion for reconsideration, requesting an extension to

May 18, 2018. See United States’ Motion, ECF No. 56. The Court granted that motion on April

3, 2018, via minute order. See Minute Order (Apr. 3, 2018).

       5.      Local Rule of Civil Procedure 7(d) requires a moving party to file a reply

memorandum within seven days after service of the memorandum in opposition. Given the

recent extension of time for the United States’ response, the new deadline for Petitioners’ reply is

May 25, 2018, which creates a conflict for Petitioners. Petitioners request a total of fourteen

days in which the file the reply memorandum, with a new deadline of June 1, 2018. The United

States does not object to the Court granting this enlargement of time.

       WHEREFORE, Petitioners respectfully request that Petitioners be allowed to file a reply

on or before June 1, 2018.
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                                 Respectfully submitted,

                                  /s/ Katie Townsend
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                                       CERTIFICATE OF SERVICE

       I hereby certify that the foregoing motion for enlargement of time and proposed order

were filed with the Clerk of Court using the CM/ECF system, and courtesy copies served on

counsel for the following via email:

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This the 12th day of April, 2018.


                                                  /s Katie Townsend
                                                 Katie Townsend
